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UNITED sTAT:-:s DISTRICT coURT
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WESTERN DIVISION
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ANTHONY FoRsTER, WOM¢,SM GOULD
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Plaintiff, W/U 1 .*..-f:§MPH:S
v, No. o4-2651-nv

BOBBY REYNOLDS, et al.

Defendants.

 

SCHEDULING ORDER

 

After a review of the pleadings in this case, the court has
determined that this order should be entered for the purposes of
scheduling dates for the completion of certain pre-trial
activities; the following dates are established as the final dates
for:

FILING MOTIONS TO JOIN PARTIES: November 30, 2005
FILING MOTIONS TO AMEND PLEADINGS: November 30, 2005
FILING PRE-TRIAL MOTIONS OF ANY OTHER KIND: March l, 2006

COMPLETING ALL DISCOVERY pursuant to Federal Rules of Civil
Procedure 26 through 35 and Rule 37: December 30, 2005

This case is set for jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge.

This order will not be modified except upon showing of good
cause.

It is SO ORDERED this 23rd day of August, 2005.

DIANE K. VESCOVO

UGUOC UNI ED STATES MAGISTRATE JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02661 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

